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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

CYNTHIA ROBINSON,                           )
                                            )
               Plaintiff,                   )       Case No. 21-cv-04725
                                            )
       v.                                   )       Cook County Case No. 21-L-7641
                                            )
MERCY HOSPITAL & MEDICAL                    )       JURY TRIAL DEMANDED
CENTER and TRINITY HEALTH                   )
                                            )
               Defendants.                  )


                                      NOTICE OF REMOVAL

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
DISTRICT OF ILLINOIS:

       Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, Defendants Mercy Hospital &

Medical Center and Trinity Health (“Defendants”) hereby remove this action from the Circuit

Court of Cook County, Illinois to the United States District Court for the Northern District of

Illinois, on the following grounds:

       1.      On July 29, 2021, Plaintiff, Cynthia Robinson, filed an eight-count Complaint

against Defendants in the Circuit Court of Cook County, Illinois, wherein Plaintiff asserted

claims under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000(e), as amended, et seq.

(“Title VII”), as well as claims under the Illinois Human Rights Act (“IHRA”). Ex. A.

       2.      On August 4, 2021, Defendants accepted service of Plaintiff’s Complaint and

Summons. Accordingly, this notice of removal is timely pursuant to 28 U.S.C. § 1446(b)(3)

because it is filed within 30 days of the date Defendants were served with summons. Ex. B.

       3.      The above-described lawsuit is a civil action in which this Court has original

jurisdiction under the provisions of 28 U.S.C § 1331 and is one which may be removed to this
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Court by Defendants pursuant to the provisions of 28 U.S.C §1441 as Plaintiff has brought

claims of gender and sexual orientation discrimination and retaliation under Title VII. See

(Complaint, Counts II, IV, VI and VIII). Plaintiff’s claims under Title VII are federal claims

which arise under the laws of the United States. Therefore, this Court has federal question

jurisdiction over this matter.

       4.      Plaintiff’s Complaint against Defendants also includes state law claims of gender

and sexual orientation discrimination and retaliation under the IHRA for which this Court should

assume pendant jurisdiction pursuant to 28 U.S.C. § 1441(c) and/or 28 U.S.C. § 1367. See

(Complaint, Counts I, III, V and VII). Here, all of Plaintiff’s claims arise from the same nucleus

of facts and circumstances. The gravamen of Plaintiff’s lawsuit is that Defendants discriminated

against her based on her race and sexual orientation and retaliated against her for allegedly

complaining of discrimination. These allegations form the basis of Plaintiff’s Title VII and IHRA

claims. Thus, the Court should exercise supplemental jurisdiction in this case of Plaintiff’s state

law claims which are intertwined with her Title VII claim.

       5.      As required by 28 U.S.C § 1446(d), notice of removal will be served upon all

parties of record and will be filed with the Circuit Court of Cook County, Illinois.

       6.      All Defendants have joined in and consent to the removal of this action, as

required by 28 U.S.C. § 1446(b)(2)(A).

       7.      The United States District Court for the Northern District of Illinois, Eastern

Division, is the District Court for the district encompassing Cook County, Illinois. 28 U.S.C §

93(a)(1).

       8.      Pursuant to the requirements of 28 U.S.C § 1446(a), the pleadings filed in the

Cook County action have been filed herewith.




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        WHEREFORE, Defendant, Mercy Hospital & Medical Center and Trinity Health, hereby

give notice of removal of this action to the United States District Court for the Northern District

of Illinois.



Dated: September 3, 2021                         Respectfully submitted,

                                                 MERCY HOSPITAL & MEDICAL
                                                 CENTER AND TRINITY HEALTH
                                           By:
                                                 /s/ Kirsten A. Milton
                                                 One of Its Attorneys

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                                CERTIFICATE OF SERVICE

       I, Kirsten A. Milton, an attorney, certify that on September 3, 2021, I caused a true and

correct copy of the attached Notice of Removal to be served on the following counsel of record

for Plaintiff by email and regular mail at the following addresses:

                                        Thomas M. Cramer
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                                                                      /s/ Kirsten A. Milton




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                       EXHIBIT A

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                       EXHIBIT B

4815-9901-1344, v. 1
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